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. : USDC SDNY
Michael Faillace & Asso ooconent

Employment and Litigation Attorne

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DATE FILED: 11/6/2020

 

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November 2, 2020
BY ECF
Hon. Analisa Torres
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007

Re: Bautista et al. v. Noble Construction et al 19-cv-8808 (AT)
Your Honor:

I am an attorney with the office of Michael Faillace & Associates, attorneys for Plaintiffs
in the above-referenced matter. I write pursuant to Rule II(B) to request an adjournment of the
initial conference currently scheduled for November 9th, 2020. There have been four previous
requests of this nature, which were granted due to 1) the parties’ intention to mediate, 2) the filing
of the First Amended Complaint 3) the anticipated filing of the Second Amended Complaint and
4) service on new defendants. This request is made with the consent of the Countywide
Defendants (Anthony Derasmo and Countywide Masonry Corp.)

The reason for this request is that counsel for the Carben Defendants (Carben Industries,
Inc., Carben Concrete, Inc., Carben Construction, Inc., Martin Doe a/k/a Peru, Anthony
LoGiudice and Ronald Browning) have not yet filed their appearance. Plaintiffs have agreed to
extend Carben Defendants’ time to answer until November 15, 2020 to allow counsel to become
familiar with the case. Plaintiffs thus request an adjournment of the initial conference until a date
after November 15, 2020. Defendants’ respective attorneys have advised me of their
unavailability on November 18, and 23-25.

GRANTED. The initial pretrial conference
scheduled for November 9, 2020, is
ADJOURNED to November 19, 2020, at 11:20
a.m. By November 12, 2020, the parties shall
file their joint letter and proposed case
management plan.

SO ORDERED. O}-

Dated: November 6, 2020 ANALISA TORRES
New York, New York United States District Judge

 
